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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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ROBERT DORAN, et al.,

Plaintiffs, 15-cv-7217 (PKC)

20-cv-3754 (PKC)
-against-
ORDER

NEW YORK STATE DEPARTMENT OF
HEALTH OFFICE OF THE MEDICAID
INSPECTOR GENERAL, et al.,

Defendants.
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CASTEL, U.S.D.J.

On September 9, 2020, the parties advised the Court that mediation in these matters
was scheduled for September 10, 2020. In order for the mediation process to function without
impediment, the Court deems the pending motions in limine withdrawn without prejudice. These
motions in limine may be refiled by notice of motion and with no further briefing required. The

Clerk is directed to close the motions in limine. (Docs. 224, 226, 228, 231).

SO ORDERED.

P. Kevin Castel
United States District Judge

Dated: New York, New York
September 15, 2020

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